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                          EXHIBIT 3
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    From:           Deanna Gasseling
    To:
    Subject:        RE: Just Checking in
    Date:           Wednesday, June 5, 2019 12:38:36 PM


   Just a heads up. Barry wants me to call, to check in and see about ramping up. . So if you see
   WestFax come up. It is me, you do not need to pick up, I will just leave a message.




   Deanna Gasseling
   WestFax
   303-299-9329
   order@westfax.com

   From:
   Sent: Tuesday, June 04, 2019 10:30 AM
   To: Deanna Gasseling
   Subject: RE: Just Checking in

   Ha! Thanks for not freaking me out. the dust has settled a bit so I am not so worried anymore…

   Everything is great. I had a few ppl out on vacation, so we took it down a notch. All is well and we will
   be ramping back up this week.

   Thanks for checking in!

   Thanks,




   From: Deanna Gasseling <deanna@westfax.com>
   Sent: Tuesday, June 04, 2019 8:00 AM
   To:
   Subject: Just Checking in

   Good morning!! I was just checking in to see how things were going. I was going to call, but didn’t
   want to freak you out if you saw WestFax come up on caller ID. I noticed that your volume has
   dropped off in the last few weeks. Is everything ok? Is there anything I can do to help. Give me a call
   when you get a chance.



   Deanna Gasseling
   WestFax
   303-299-9329
   order@westfax.com
